                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF ALABAMA


In Re:                                                              CASE NO. 15-03549-JCO-13
         BRITNEY JENICE MICKLES
              DEBTOR(S)


            ORDER RECONSIDERING THE DISMISSAL AND REINSTATING CASE

         The Chapter 13 Trustee’s motion to reconsider the dismissal and reinstate the

Chapter 13 Case is hereby granted.

         It is ordered that the Order of Dismissal is RECONSIDERED and the case is REINSTATED.

Dated: August 12, 2016




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